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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                              Criminal No. 17-64 (DWF/KMM)

                      Plaintiff,
                                                                  ORDER GRANTING
 v.                                                            EARLY TERMINATION
                                                                    OF PROBATION
 Edward S. Adams,

                      Defendant.


       This matter is before the Court upon the Request for Early Termination of

Probation (Doc. No. [286]). On January 23, 2020, the above Defendant was placed on

supervision for a period of 24 months. This Defendant has complied with the rules and

regulations of supervision and is no longer in need of supervision and the United States

Probation and Pretrial Services has recommended that this Defendant be discharged from

supervision.

       Based upon the submissions of the United States Probation and Pretrial Services

and the Court having reviewed the entire file in this matter and being otherwise duly

advised in the premises, hereby enters the following:

                                         ORDER

       1.      The Defendant is hereby DISCHARGED from supervision and the

proceedings in this case shall be terminated and the file closed.


Dated: May 12, 2021                       s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge
